    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 1 of 11. PageID #: 3830




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

    TABATHA JACKSON, et al.                   )        CASE NO. 1:20-CV-02649
                                              )
                Plaintiffs,                   )        JUDGE CHARLES E. FLEMING
                                              )
         v.                                   )
                                              )
    CUYAHOGA COUNTY, OHIO, et                 )
    al.                                       )
                                              )
                Defendants.                   )

  PLAINTIFF’S OPPOSITON TO DEFENDANT RANDY PRITCHETT’S MOTION
                      FOR SUMMARY JUDGMENT

       Now comes the Plaintiff Tabatha Jackson (“Jackson”), by and through

undersigned counsel, and hereby respectfully requests that this Honorable Court deny

Defendant Randy Pritchett’s (“Pritchett”) Motion for Summary Judgment.

                               I. STATEMENT OF FACTS

       Tabatha Jackson was born in Cleveland, Ohio on June 26, 1967. (Jackson Dep. at

21, 23.) She grew up in the Glenville neighborhood and has lived in the Cleveland area

for most of her life. (Id. at 23.) Jackson had a difficult upbringing growing up on

Cleveland’s East Side, having lost her parents and thirteen brothers and sisters. (Id. at 47.)

Recently, Jackson has worked at Edwins Leadership & Restaurant in Shaker Square and

is in school. (Id. at 193.)

       Prior to her confinement in the Cuyahoga County Corrections Center (“CCCC”),

Jackson was shot three times in the Buckeye-Woodhill neighborhood—in her stomach,

back, and hands. (Id. at 35.) She needed surgery to treat the gunshot wounds and required




                                              1
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 2 of 11. PageID #: 3831




a wheelchair to ambulate. (Id. at 51–52.) “I have sciatica and neuropathy. I sometimes

could feel my right leg and sometimes I can’t. Neuropathy seems like I’m walking on

billions and billions of pins, and it won’t allow me to put my foot all the way down

without falling.” (Id. at 57.) Notwithstanding Jackson’s poor physical condition, the

County placed her in general population, instead of in a medical pod, without a

wheelchair. (Id. at 53, 59–60, 63, 65–66, 73.) As a result, Jackson “kept falling[]” “every

day” (Id. at 67, 73.)

       Defendant Pritchett knew that Jackson required a wheelchair due to her poor

physical condition. (Id. at 54.) While Jackson was incarcerated in the CCCC, another

inmate “came up with a razor and she’s sitting on my left side. At first she up there cutting

[her face].” (Id. at 97.) “But anyway, I turn to the lady because it was squirting. Something

was squirting out of her face. Blood was—I told her don’t put no blood on me. So the

lady turned around and she slapped the hell out of me like a Will Smith to Chris Rock

kind of slap.” (Id. at 98.) “So yes. I defended myself.” (Id. at 98; 118.)

       A female corrections officer came in and separated the razor-wielding inmate from

Jackson, and then remained right by Jackson’s side, with her hand on Jackson’s arm:

“She came in and she already had me detained. She talking to me. She said, don’t get in

no more trouble than what you already in. The object is for you to go home. And so I’m—

by me talking to her, I’m calm. It don’t take much for me to get calm. I don’t stay mad at

people too long. It’s over with.” (Id. at 100–01.)

       Then, like a bat out of hell, Defendant Pritchett stormed into the room: “Sir, I’m

going to just tell you, Ms. Brown was right by my side, and the only thing I saw was that




                                               2
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 3 of 11. PageID #: 3832




big man [Pritchett] coming through that door.” (Id. at 101.) “He come running in there.

He turned around and he picked me up so hard. I was with her. He picked me up so hard

and he slammed me on this desk.” (Id. at 102.) Jackson deposed:

       A.     When he ran in, he grabbed me from this way, and he picked me up
              and slammed me.

       Q.     He grabs you from the front?

       A.     Yes.

       Q.     Is he grabbing your—

       A.     He got this part and me all in the same motion. Mister, I don’t know
              how to tell you. You just—he just picked me up and he slammed me.
              He slammed me like I was a man in the streets. He slammed me so
              hard, Mister, that my staples smashed in. That was part of the pus
              and the blood that I kept telling you that kept bleeding my whole
              duration of the stay there. He smashed it in. And that is—all of these
              staples—I got staples from here, sir, all the way down to my lady
              parts, and that hurts. Then he turned around and he snatched me
              from there and he threw me up against the wall.

(Id. at 103.) A video camera caught the incident, but “[n]obody seemed to know where

that is.” (Id. at 104.) “[T]hat man hit my head so hard on that wall, this side of my face

was swollen.” (Id. at 104.) Pritchett threw Jackson face-first into a concrete wall. (Id. at

104.) “You know the sad part about this thing, had he just walked in there—but he ran—

had he walked in there and asked what was going on, he would’ve found out that I was

already detained. No reason to put your hands on me.” (Id. at 104; see 106.)

       Pritchett had no reason to use any force under the circumstances.

Notwithstanding, he caused Jackson to suffer physical and emotional injuries:

       Q.     Where was that pain?

       A.     Everywhere; my hand –


                                             3
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 4 of 11. PageID #: 3833




      Q.     You’re going to have to be more specific.

      A.     Let me finish telling you. So after this—because I’m going to tell you
             where the pain come in at.

             So after he slammed me up against the wall, right, he putting on the
             handcuffs, he got me up—he’s a big dude. He’s really big. And he
             had my arms all the way up—all the way up putting on handcuffs.
             And he put them on backwards. This whole hand—my hands was
             swollen. Here you go. Handcuff marks right there. Handcuff marks
             right there. He turned around and my hands was swollen. They was
             bleeding. My face hurt. My stomach hurt. It was bleeding from the
             staples being –

                                     *      *      *

      A.     Everything. My face, everything. I was in more pain than she was.
             You get slammed by that man. And I’m sure you know how tall and
             big he is. And at that particular time I was a hundred and—

      Q.     There is not a question pending.

      A.     I was just saying.

      Q.     I understand.

(Id. at 105–07.) Pritchett, who wears one of the County-provided “men in black” “combat

uniforms,” used force on Jackson was “excessive.” (Id. at 123.)

      The U.S. Marshals Service corroborated Jackson’s account during its investigation:

      Review of Use of Force (UOF) incidents determined staff are not utilizing
      all tools and techniques generally accepted as best practices for UOF teams
      to ensure staff and detainee safety (i.e., confrontation avoidance, UOF team
      concept, team briefings and debriefings, removing staff involved at the on-
      set of the incident from the immediate area, and a review of all UOF
      incidents by the agency administrator or designee, and medical assessment
      of all involved). Additionally, video tapes involving UOF are not tagged
      and labeled as evidence. Written reports are not required from all persons
      involved in the use of force or any staff who played a role in the incident
      (i.e., medical, correctional personnel, SRT, etc.). [Redacted.]




                                            4
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 5 of 11. PageID #: 3834




       Over 100 detainee/inmate interviews reveal strong and consistent
       allegation of brutality, UOF punishment, and cruel treatment at the hands
       of the Security Response Team (SRT), whom the detainee/inmates refer to
       as “The Men in Black”, based on their black para-military uniforms.

       During the review, review team members observed SRT members verbally
       abusing      and    demonstrating   aggressive      behavior   towards
       detainees/inmates; review of multiple UOF and SRT body-cam video
       reveal and contain aggressive conduct and behavior as well as abusive,
       explicit language used by SRT members direct at detainees/inmates.

       SRT members who were escorting detainee/inmates to be interviewed by
       Facility Review Team members were referring to requested
       detainee/inmates as “Snitches”, as they escorted them to and from the
       interview location. The threatening, intimidating and aggressive behavior
       demonstrated and witnessed by the Facility Review Team resulted in the
       request to remove up to 10 detainee/inmates from the CCCC, for fear of
       SRT members retaliation, and the legitimate fear of detainee/inmate safety.

(Nov. 21, 2018 U.S. Marshals Service Report at 35 (emphasis added).)

                                  II. LAW & ARGUMENT

       Under the version of the facts most favorable to Jackson, she posed no threat

whatsoever when Defendant Pritchett suddenly stormed into the room, picked her up

and slammed her onto a desk, and then face-first into a concrete wall. Defendant Pritchett

had no adequate justification for a use of force in this instance when Jackson was already

being calmly detained and controlled by a corrections officer. See Lawler v. City of Taylor,

268 F.App’x. 384, 386–388 (6th Cir. 2008) (arrestee tackled during booking after calling

officer a “pussy” had clearly established right to be free from use of force where there is

no perceived threat); McGovern v. Lucas County, Ohio, No. 3:18-CV-2506, 2021 WL 1176737

(N.D. Ohio March 29, 2021) (rejecting argument that use of racial slur by inmate created

threat to tank stability that necessitated use of force).




                                               5
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 6 of 11. PageID #: 3835




       Further, after the two wanton and malicious slams, Defendant Pritchett pulled

Jackson’s arms up behind her back when she was allowing him to handcuff her;

Defendant Pritchett placed the handcuffs on Jackson with such force that Jackson’s hands

began to swell up, and her wrists began to bleed. (Jackson Dep. at 105–07.) Again,

Defendant Pritchett had no adequate justification for this use of force when Jackson was

compliant, cooperative, and not resisting detainment.

       Accepting the facts in the light most favorable to Jackson, as required for the

purpose of summary judgment, the analysis here is simple. Because Jackson did not pose

a threat and was not resisting the female officer who had already diffused the situation,

the gratuitous use of force by Defendant Pritchett was a clearly established violation of

Jackson’s constitutional rights.

       Indeed, punishment that is without penological justification or involves the

unnecessary and wanton infliction of pain violates the Eighth Amendment’s

proscriptions. Rhodes v. Chapman, 452 U.S. 337, 346 (1981). In other words, the Eighth

Amendment prohibits “the gratuitous infliction of suffering.” Gregg v. Georgia, 428 U.S.

153, 183 (1976).

       The Eighth Amendment prohibits any punishment that violates civilized

standards of decency or involves the “’unnecessary and wanton infliction of pain.’”

Ingraham v. Wright, 430 U.S. 651, 670 (1977), quoting Estelle v. Gamble, 429 U.S. 97, 103

(1976). An Eighth Amendment claim contains both an objective and a subjective

component. Woods v. Lecureux, 110 F.3d 1215, 1222 (6th Cir. 1997).




                                            6
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 7 of 11. PageID #: 3836




       “The objective component requires the ‘pain inflicted to be “sufficiently serious”’

to offend ‘contemporary standards of decency.’ Cordell v. McKinney, 759 F.3d 573, 580 (6th

Cir. 2014) (quoting Williams v. Curtin, 631 F.3d 380, 383 (6th Cir. 2011)); Hudson v.

McMillian, 503 U.S. 1, 8, 112 S. Ct. 995, 117 L. Ed. 2d 156 (1992)).” Anderson-Santos v. Kent

Cnty., No. 1:21-CV-453, 2022 U.S. Dist. LEXIS 238697 at *14–15.

       “While the extent of a prisoner’s injury is relevant to this inquiry in the sense that

it may shed light on the amount of force used, it is not dispositive of whether an Eighth

Amendment violation has occurred. Wilkins v. Gaddy, 559 U.S. 34, 37, 130 S. Ct. 1175, 175

L. Ed. 2d 995 (2010). ‘Injury and force . . . are only imperfectly correlated, and it is the

latter that ultimately counts.’ Id. at 38. Thus, ‘[w]hen prison officials maliciously and

sadistically use force to cause harm, contemporary standards of decency are always

violated . . . whether or not significant injury is evident.’ Hudson, 503 U.S. at 9.” Anderson-

Santos, 2022 U.S. Dist. LEXIS 238697 at *15.

       “The subjective component asks ‘whether force was applied in a good-faith effort

to maintain or restore discipline, or maliciously and sadistically to cause harm.’ [Hudson]

at 6-7. In determining whether the use of force is wanton and unnecessary, a court should

evaluate the need for application of force, the relationship between that need and the

amount of force used, the threat ‘reasonably perceived by the responsible officials,’ and

any effort made to temper the severity of the forceful response. Id. (citing Whitley v. Albers,

475 U.S. 312, 321, 106 S. Ct. 1078, 89 L. Ed. 2d 251 (1986)).” Anderson-Santos, 2022 U.S. Dist.

LEXIS 238697 at *15.




                                               7
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 8 of 11. PageID #: 3837




       Here, Defendant Pritchett had basis to use force upon Jackson at all. Jackson

testified that the female corrections officer separated the razor-wielding inmate from

Jackson, and then remained right by Jackson’s side, with her hand on Jackson’s arm. The

situation, in which Jackson was not the aggressor, was fully diffused before Pritchett had

arrived. Objectively speaking, this is what Defendant Pritchett should have recognized,

but instead he stormed into the room and body-slammed Jackson on a wooden desk,

threw her face-first into a concrete wall, and pulled Jackson’s arms up behind her back

when she was allowing him to handcuff her. (Jackson Dep. at 101–03, 105–07.) “You know

the sad part about this thing, had he just walked in there—but he ran—had he walked in

there and asked what was going on, he would’ve found out that I was already detained.

No reason to put your hands on me.” (Id. at 104; see 106.)

       Notwithstanding the fact that Defendant Pritchett knew that Jackson required a

wheelchair due to her poor physical condition, and the fact that he is a man who is much

bigger and stronger than Jackson, a female, a reasonable jury could find that Defendant

Pritchett forcefully, maliciously, and gratuitously used force upon Jackson. (Jackson Dep.

at 54; 105–07.)

       To establish the subjective component, the plaintiff must demonstrate that the

prison official acted wantonly, with deliberate indifference to the plaintiff’s serious needs.

Farmer v. Brennan, 511 U.S. 825, 834 (1994). The plaintiff must also show that the defendant

acted “maliciously and sadistically for the very purpose of causing harm,” rather than

“in a good faith effort to maintain or restore discipline.” Whitley v. Albers, 475 U.S. 312,

320–21 (1986). And in Wilkins v. Gaddy, 559 U.S. 34, 37 (2010), the Supreme Court




                                              8
    Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 9 of 11. PageID #: 3838




reaffirmed that the proper focus, when analyzing the subjective component, is not on the

degree of injury the plaintiff sustained, but whether the officer applied force for the

legitimate purposes of maintaining or restoring order or discipline, or utilized force

“maliciously and sadistically to cause harm.” (quoting Hudson, 503 U.S. at 7).

       In Hudson v. McMillian, 503 U.S. 1, 9 (1992) (emphasis added), the Supreme Court

held: “In the excessive force context, society’s expectations are different. When prison

officials maliciously and sadistically use force to cause harm, contemporary standards of

decency always are violated. See Whitley, supra, at 327. This is true whether or not

significant injury is evident. Otherwise, the Eighth Amendment would permit any

physical punishment, no matter how diabolic or inhuman, inflicting less than some

arbitrary quantity of injury.”

                                  III. CONCLUSION

       The Court should deny Summary Judgment because Defendant Pritchett sprinted

into the room, picked up and slammed Jackson onto a wooden desk, then slammed her

head into a concrete wall, and then forcibly handcuffed her so hard that her hands and

wrists were bleeding, and are now permanently scarred. Defendant Pritchett used this

force after CO Brown had clearly and fully deescalated the situation, wherein Jackson

was attached by a razor-wielding inmate. Simply put, Defendant Pritchett had no basis

to use any force upon Jackson, and a jury could therefore find Defendant Pritchett’s use

of force was malicious, gratuitous, unreasonable, and unnecessary. Based on the

foregoing, the Court should deny Pritchett’s Motion for Summary Judgment.




                                            9
Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 10 of 11. PageID #: 3839




                                         Respectfully submitted,

                                         /s/ Kevin M. Gross
                                         Lewis A. Zipkin, Esq. (0030688)
                                         Kevin M. Gross, Esq. (0097343)
                                         ZIPKIN WHITING CO., L.P.A.
                                         The Zipkin Whiting Building
                                         3637 Green Road
                                         Beachwood, Ohio 44122
                                         Phone: 216-514-6400
                                         Fax: 216-514-6406
                                         Email: zfwlpa@aol.com
                                                kgross@zipkinwhiting.com

                                         Counsel for Plaintiffs Tabatha Jackson
                                         and Phyllis Davis




                                    10
   Case: 1:20-cv-02649-CEF Doc #: 64 Filed: 03/03/23 11 of 11. PageID #: 3840




              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I certify this memorandum complies with the page limit for standard track, as set

forth in Local Rule 7.1.

                                                 /s/ Kevin M. Gross
                                                 Lewis A. Zipkin, Esq. (0030688)
                                                 Kevin M. Gross, Esq. (0097343)

                                                 Counsel for Plaintiffs Tabatha Jackson
                                                 and Phyllis Davis



                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on March 3, 2023, via the

Court’s CM/ECF system upon:

       Michael J. Stewart, Esq.
       Brendan D. Healy, Esq.
       Jillian Eckart, Esq.
       CUYAHOGA COUNTY PROSECUTOR’S OFFICE
       The Justice Center, Courts Tower
       1200 Ontario Street, 8th Floor
       Cleveland, OH 44113
       Phone:(216) 443-6673; (216) 698-6447; (216) 443-7618
       Fax: (216) 443-7602
       Email: mjstewart@prosecutor.cuyahogacounty.us
               bhealy@prosecutor.cuyahogacounty.us
               jeckart@prosecutor.cuyahogacounty.us

       Attorneys for Defendant Cuyahoga County


                                                 /s/ Kevin M. Gross
                                                 Lewis A. Zipkin, Esq. (0030688)
                                                 Kevin M. Gross, Esq. (0097343)

                                                 Counsel for Plaintiffs Tabatha Jackson
                                                 and Phyllis Davis



                                           11
